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 4
     Attorney for: Bruce GOLDSMITH
 5
 6
               IN THE UNITED STATES DISTRICT COURT FOR THE
 7
 8                      EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA,             )        Case No: 11-CR-428
10                                         )
11                      Plaintiff,         )        STIPULATION AND [PROPOSED]
                                           )        ORDER TO MODIFY RELEASE
12
                 v.                        )        CONDITIONS
13                                         )
14   SMITH, et al                          )
                                           )
15                      Defendants.        )
16                                         )
17
18         Defendant, Bruce Goldsmith, by and through his undersigned counsel, and
19
     the United States, through its undersigned counsel, hereby agree and request that
20
21   the Court modify the conditions of Mr. Goldsmith’s release to include the
22
     following additional condition:
23
24         You shall refrain from ANY use of alcohol or any use of a narcotic
           drug or other controlled substance without a prescription by a licensed
25
           medical practitioner; and you shall notify Pretrial Services immediately
26         of any prescribed medication(s). However, medicinal marijuana,
27         prescribed or not, may not be used.
28   All other conditions to remain the same.


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 1                         The parties have conferred and are agreeable to this new condition.
 2
 3   Dated: November 2, 2012                        BENJAMIN B. WAGNER
                                                    United States Attorney
 4
 5                                                  By:/s/ WILLIAM BONHAM for
 6                                                  RICHARD BENDER
                                                    Assistant U.S. Attorney
 7
 8
 9
     Dated: November 2, 2012                        By:/s/ WILLIAM BONHAM for
                                                    WILLIAM BONHAM
10                                                  Counsel for defendant Bruce Goldsmith
11
12
13                                                       ORDER
14
15                         IT IS SO ORDERED. Mr. Goldsmiths’s conditions of release are modified
16
     to include the following additional condition:
17
18                         You shall refrain from ANY use of alcohol or any use of a narcotic
19                         drug or other controlled substance without a prescription by a licensed
                           medical practitioner; and you shall notify Pretrial Services immediately
20                         of any prescribed medication(s). However, medicinal marijuana,
21                         prescribed or not, may not be used.
22
23   Date: 11/5/2012
24
25
26                                                    ___________________________________
                                                      GARLAND E. BURRELL, JR.
27                                                    Senior United States District Judge
     DEAC_Signature-END:




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